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                             UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF OHIO
                                     WESTERN DIVISION
IN RE:                                                            CASE NO. 19-30822
                                                                  CHAPTER 7
TAGNETICS INC.                                                    JUDGE GUY R. HUMPHREY


                  Debtor                                 NOTICE OF APPEARANCE
                  _____________________________________________________

        Now comes Chris Wesner, and says that he enters his appearance in the case for S-Tek Inc. Further,
Chris Wesner says that S-Tek Inc. consents to this Notice of Appearance as indicated by the signature of the
co-owners S-Tek Inc., Bob Smith and David LePore. S-Tek Inc. legal fees are being paid for by Kenneth W.
Kayser, owner of Kayser Ventures Ltd.
                                                          Respectfully submitted,

                                                           /s/ Chris Wesner
                                                          Chris Wesner #0082699
                                                          Miller Luring Venters & Wesner Co., LPA
                                                          314 W Main Street
                                                          Troy OH 45373
                                                          (937) 339-2627 Phone
                                                          (937) 33905444 Fax
                                                          chriswesnerlaw@gmail.com

                                                          /s/ Bob Smith
                                                          Bob Smith for S-Tek Inc.

                                                          /s/ David LePore
                                                          David Lepore for S-Tek Inc.


                                     CERTIFICATE OF SERVICE

       I hereby certify that on the 14th day of May, 2019, a true and correct copy of the foregoing Notice
of Appearance was served on the following registered ECF participants, electronically through the Court’s
ECF System at the email address registered with the Court:
U.S. Trustee (Day)
Asst. US Trustee (Day)
Office of US Trustee
170 N. High Street
Suite 200
Columbus, OH 43215-2417
and the following by ordinary U.S. Mail addressed to:

Tagnetics Inc.
3415 RT 36
Piqua, OH 45356

Kenneth W. Kayser
PO Box 115
Catawba, VA 24070

Ronald E. Early
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6429 Winding Tree Dr.
New Carlise, OH 45344

Kayser Ventures Ltd.
1872 Pratt Dr.
Ste. 1800
Blacksburg, VA 24060

Jonathan Hager
2170 River Oaks Drive
Salem, VA 24153

Robert Strain
427 Artell St.
Marcengo, IL 60152
S-Tek Inc.
1100 Wayne St.
Suite 5000
Troy, OH 45373
                                               /s/ Chris Wesner
                                               Chris Wesner
